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                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

GLEN L. BRAWLEY, DMD,                ]
                                     ]
      Plaintiff,                     ]
                                     ]
v.                                   ]     Case No.: 2:17-cv-01513-ACA
                                     ]
NORTHWESTERN MUTUAL                  ]
LIFE INSURANCE COMPANY,              ]
et al.,                              ]
                                     ]
      Defendants.                    ]

                   MEMORANDUM OPINION AND ORDER

      Plaintiff Glen Brawley, an orthodontist, had five disability income policies

with Defendant Northwestern Mutual Life Insurance Company (“Northwestern”).

(Doc. 1-1 at ¶¶ 7–12). After he severely injured his dominant hand in a brush saw

accident, Dr. Brawley filed a claim under each of the policies. (Id. at ¶¶ 19–25,

34). Until January 1, 2015, Northwestern paid Dr. Brawley disability benefits

under all five policies, but in February 2015, it reassessed his condition and

discontinued all disability payments. (Id. at ¶¶ 34–40). Dr. Brawley timely filed

an appeal of the denial, which Northwestern denied. (Id. at ¶¶ 41–42). In March

2016, Dr. Brawley submitted a second claim for disability benefits. (Doc. 1-1 at

¶ 43). After its review of the second request, Northwestern determined it was
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“unable to re-open [Dr. Brawley’s] prior claim or approve a new claim.” (Doc. 32-

4). This lawsuit followed.

      Currently pending before the court is Northwestern’s motion for partial

summary judgment. (Doc. 27). Northwestern argues that Counts II through V of

Dr. Brawley’s complaint are time-barred under either Alabama’s twenty-year rule

of repose or the applicable statute of limitations. (Doc. 28 at 6). For the reasons

explained below, the court GRANTS IN PART AND DENIES IN PART

Northwestern’s motion.

I.     STANDARD OF REVIEW

      “The court shall grant summary judgment if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.” Fed. R. Civ. P. 56(a). The court views the evidence in the light

most favorable to the non-moving party. Baas v. Fewless, 886 F.3d 1088, 1091

(11th Cir. 2018).

II.   FACTUAL BACKGROUND

      Dr. Brawley purchased five disability income policies from Northwestern.

The first policy was issued on April 10, 1981 (the “1981 Policy”). (Doc. 1-1 at

¶ 7). The second policy was issued on November 10, 1987 (the “1987 Policy”).

(Id. at ¶ 11). The third policy was issued on January 10, 1990 (the “1990 Policy”).

(Id. at ¶ 12).      The fourth and fifth policies were issued on March 1, 2002

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(collectively, the “2002 Policies”). (Id. at ¶ 14). All five of the policies remained

in effect at all relevant times. (Doc. 1-1 at ¶¶ 7, 11, 12, 14).

       Dr. Brawley did not actually read any of the disability policies; he “looked”

at the 1981, 1987, and 1990 Policies “close enough to verify the premium and

benefits were as represented” and relied on the Northwestern agent’s

representations about the terms of the 2002 Policies. (Doc. 1-1 at ¶ 15; Doc. 11 at

12–13). Based on discussions he had with the Northwestern agent who sold him

the policies, Dr. Brawley believed that the 1987 Policy provided “true ‘own

occupation’” protection in the event he “could not perform, on a full-time basis, the

primary activities of his specific specialty (orthodontics).” (Doc. 1-1 at ¶¶ 9–11).

He believed the 1990 Policy was “virtually identical” to the 1981 and 1987

Policies (id. at ¶ 12), and when he purchased the 2002 Policies, he understood them

to be “essentially the same as the three previous policies” (id. at ¶ 15).

Dr. Brawley did not compare the language in the 2002 Policies to the three earlier

policies. (Id.).

       In 2013, after a severe injury to his dominant hand impacted his ability to

work, Dr. Brawley applied for disability benefits under all five policies. (Doc. 1-1

at ¶¶ 19, 34). Northwestern approved the claim, subject to continuing proof of

disability requirements, and paid Dr. Brawley monthly disability benefits under the

policies through January 2015.        (See id. at ¶¶ 34, 35).      In February 2015,

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Northwestern denied Dr. Brawley’s claim for disability benefits beyond what had

already been paid. (Id. at 40).

      In February 2016, Dr. Brawley sold his orthodontics practice and stopped

practicing. (Id. at ¶¶ 43, 47). He then submitted, in March 2016, a second claim

based on his updated employment status and included additional medical records

regarding a condition in his right elbow. (Doc. 1-1 at ¶ 43).

      In April 2016, Northwestern sent Dr. Brawley a letter acknowledging receipt

of the claim and informing him that Northwestern would “be re-evaluating [his]

claim from [the] original submission in 2013 to see if [it] can change that decision

and, if not, [determine] whether [it] can establish a current period of disability.”

(Doc. 32-3). In June 2016, Northwestern concluded its “review of [Dr. Brawley’s]

claim both with regard to [his] current limitations and possible limitations

continuing from [the] original claim.”        (Doc. 32-4).      Based on its review,

Northwestern determined that it was “unable to either re-open [Dr. Brawley’s]

prior claim or approve a new claim.” (Id.).

      Dr. Brawley sued Northwestern and two insurance agents in state court,

asserting various state law claims. (Doc. 1-1). The Defendants removed the case

to this court based on diversity jurisdiction. (Doc. 1 at ¶ 6). The court (Hopkins,

J.) dismissed the two insurance agents as fraudulently joined, concluding that the




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rule of repose barred some of the claims against them and the statute of limitations

barred the rest. (Doc. 19 at 2–3, 36–37).

         The only remaining Defendant is Northwestern. Count I alleges

Northwestern breached the terms and provisions of all five policies issued to Dr.

Brawley. (Doc. 1-1 at ¶ 51). Counts II, III, and IV assert claims with respect to

the 1987, 1990, and 2002 Policies. (Id. at ¶¶ 54, 58, 61). Count V alleges

Northwestern twice denied Dr. Brawley’s disability claims in bad faith. (Id. at

¶ 69).

III.     DISCUSSION

         Northwestern’s motion for partial summary judgment seeks to dispose of

Counts II through V of Dr. Brawley’s complaint. Northwestern argues that claims

asserted with respect to the 1987 and 1990 Policies are barred by Alabama’s Rule

of Repose. Northwestern alleges claims made pursuant to the 2002 Policies, and

those alleging a bad faith denial of benefits, are barred by the statute of limitations.

         A.   Alabama’s Rule of Repose Bars Dr. Brawley’s Fraud and Negligence
              Claims Against Northwestern Under the 1987 and 1990 Policies

         Northwestern moves for summary judgment on Counts II, III, and IV to the

extent they arise from the 1987 and 1990 Policies, on the basis that the rule of

repose bars those claims. (Doc. 28 at 6–9).

         Under Alabama law, the common-law rule of repose “bars actions that have

not been commenced within 20 years.” Owens-Illinois, Inc. v. Wells, 50 So. 3d
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413, 416 (Ala. 2010) (quoting Tierce v. Ellis, 624 So. 2d 553, 554 (Ala. 1993)).

“The rule of repose begins running on a claim as soon as all of the essential

elements of that claim coexist so that the plaintiff could validly file suit.” Am.

Gen. Life and Acc. Ins. Co. v. Underwood, 886 So. 2d 807, 812 (Ala. 2004).

Because Dr. Brawley’s alleged injury resulted from the payment of premiums for

an insurance policy, “the rule of repose began running . . . as soon as [Dr. Brawley]

paid the first premium for [each] policy because that payment supplied the last

essential element necessary for all essential elements of the particular claim to

coexist so that [he] could file suit.” Id. at 813.

      Dr. Brawley began paying premiums for the 1987 Policy on November 10,

1987 (doc. 29-1 at 24), and for the 1990 Policy on January 10, 1990 (id. at 47).

But, he did not file his state court complaint until August 1, 2017. (Doc. 1 at 1,

¶ 8). Because more than twenty years elapsed between the payment of the first

premium under each policy and the filing of this lawsuit, the court finds that the

rule of repose bars Dr. Brawley’s negligence and fraud based claims arising from

the 1987 and 1990 Policies.

      B.     Alabama’s Two-Year Statute of Limitations Bars Dr. Brawley’s Fraud
             Claims Against Northwestern Under the 2002 Policies

      Northwestern seeks summary judgment on Counts II and IV as they relate to

the 2002 Policies, on the basis that Alabama’s two-year statute of limitations bars

those claims. (Doc. 28 at 9–17).
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      Under Alabama law, claims for fraud and suppression are subject to a two-

year statute of limitations. Ala. Code §§ 6–2–38, 6–2–3. A fraud claim accrues,

and the running of the statutory limitations period commences, “upon the earlier

of: (1) actual discovery of the alleged fraud; or (2) receipt of a document or

contract alerting the plaintiff to the possibility of fraud, if the plaintiff could have

read and understood such document and chose to ignore its written terms.” Owens,

289 F. Supp. 2d at 1325 (citing Foremost Ins. Co. v. Parham, 693 So. 2d 409, 421

(Ala. 1997)).

      Dr. Brawley admits that he received copies of the 2002 Policies in March

2002 (doc. 1-1 at ¶ 15), but argues that the limitations period should run from the

date he discovered the fraud and not from the date he received the policies (doc. 18

at 4, ¶ 5). Although he agrees that the earlier date typically triggers the running of

the statute of limitations, Dr. Brawley contends that under an exception created by

Alabama Supreme Court precedent, the statute of limitations runs from the time he

discovered the alleged fraud because he had a “special relationship” with the

Northwestern agent. (Id.) (citing Potter v. First Real Est. Co., Inc., 844 So. 2d

540, 551 (Ala. 2002)).

      Dr. Brawley’s argument is unavailing.          In Potter, a real estate agent

represented both the purchaser and seller in a real estate transaction. The agent

told the plaintiff that she represented him “as much as she represented the seller.”

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Potter, 844 So. 2d at 543. At the real estate closing, the agent assured the plaintiff

that a document presented at the closing was the same as an almost illegible

document that she had previously presented. Id. at 551. Because the real estate

agent represented the plaintiff’s interests, the Alabama Supreme Court found a

special relationship between the plaintiff and the agent existed that made it

reasonable for the plaintiff to rely on the agent’s representations of what the

document contained. Id. As a result, the Alabama Supreme Court held that the

statute of limitations began running when the plaintiff discovered the fraud instead

of when he received the document. Id.

      The Potter decision is distinguishable for two reasons. First, unlike in

Potter, in this case the agent who allegedly made misrepresentations regarding the

terms of the 2002 Policies was Northwestern’s agent, not Dr. Brawley’s agent.

And second, Dr. Brawley has not alleged or presented evidence that he could not

read or understand the language of the Policies. Given these distinctions, the

Potter decision does not apply in this case. Consequently, the statute began to run

in March 2002, more than two years before he filed this case in 2017, and his fraud

claims based on the 2002 Policies are time-barred.




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      C.    Alabama’s Two-Year Statute of Limitations Bars Dr. Brawley’s
            Negligent and/or Wanton Training and Supervision Claims Against
            Northwestern Under the 2002 Policies

      Northwestern seeks summary judgment on Count III on the basis that

Alabama’s two-year statute of limitations for negligence and wantonness actions

bars the claim. (Doc. 28 at 22–24).

      Dr. Brawley’s negligent and/or wanton training and supervision claims are

subject to a two-year statute of limitations. Ala. Code § 6–2–38; Booker v. United

Am. Ins. Co., 700 So. 2d 1333, 1339 (Ala. 1997) (applying a “two-year limitations

period for claims alleging liability for negligence, whether the liability is direct or

based upon the doctrine of respondeat superior”). Under Alabama law, it is well

settled that a “negligence [and/or wantonness] cause of action accrues when the

plaintiff can first maintain the action, regardless of whether the full amount of

damage is apparent at the time of the first injury.” Henson v. Celtic Life Insurance

Co., 621 So. 2d 1268, 1271 (Ala. 1993).

      In this case, Dr. Brawley’s negligent and/or wantonness claims stem from

Northwestern’s sales training and supervision for insurance agents. (Doc. 1-1 at ¶

58). Specifically, Dr. Brawley alleges that the agents “did not know how to

truthfully represent the features of [the disability] policies to potential insureds.”

(Id.). The complaint alleges that a Northwestern agent described the scope of

coverage around the time Dr. Brawley purchased a policy. The last time Dr.

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Brawley purchased a Northwestern policy was in 2002.              Thus, any alleged

negligence or wantonness on the part of Northwestern occurred, at the latest, on

March 1, 2002, when Dr. Brawley purchased the 2002 Policies. Because Dr.

Brawley filed his complaint fifteen years after his claim accrued, the statute of

limitations bars Dr. Brawley’s negligent and/or wanton supervision claims.

      D.    Dr. Brawley’s Bad Faith Claims

      Northwestern seeks summary judgment on Count V, in which Dr. Brawley

asserts bad faith claims, on the basis that the statute of limitations bars that claim.

(Doc. 28 at 24–26).

      Under Alabama law, the statute of limitations for bad faith claims is two

years, Ala. Code § 6–2–38(1), and begins to run “upon the event of the bad faith

refusal, or upon the knowledge of facts which would reasonably lead the insured

to a discovery of the bad faith refusal.” Jones v. Alfa Mut. Ins. Co., 1 So. 3d 23,

30 (Ala. 2008) (quoting Safeco Ins. Co. of Am. v. Sims, 435 So. 2d 1219, 1222

(Ala. 1983)). Generally, a letter denying insurance coverage is sufficient to “put a

reasonable mind on notice.” Farmers & Merchants Bank v. Home Ins. Co., 514

So. 2d 825, 831–32 (Ala. 1987).

      In Count V, Dr. Brawley asserts two bad faith claims: one arising from

Northwestern’s February 2015 denial of benefits and one arising from its June

2016 denial of benefits. The statute of limitations bars the claim arising from the

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February 2015 denial of benefits because Dr. Brawley filed his complaint in

August 2017, more than two years after that denial. See Farmers & Merchants

Bank, 514 So. 2d at 832.

     But, the statute of limitations does not bar the bad faith claim arising from

Northwestern’s June 2016 denial of benefits. In March 2016, Dr. Brawley made a

second claim under all five policies, attaching to his claim additional evidence in

support. (Doc. 32-2; see Doc. 32-3). Northwestern requested updated medical

records and evaluated the claim “to see if [it could] change that decision [on the

2013 Claim] and, if not, . . . whether [it was able to] establish a current period

of disability.” (Doc. 32-3) (emphasis added). After reviewing the information,

Northwestern wrote Dr. Brawley in June 2016, stating that it had reviewed the

information “both with regard to current limitations and possible limitations

continuing from [his] original claim” (doc. 32-4) (emphasis added), but that it was

“unable to either re-open [his] prior claim or approve a new claim” (id.)

(emphasis added).

     Taken in the light most favorable to Dr. Brawley, the June 2016 letter is a

denial of benefits. By its terms, the letter clearly and unambiguously states that it

will “not approve” a new claim. (Id.). A denial of insurance benefits is, by

definition, a “rejection of an application for benefits.”     Denial, Black’s Law

Dictionary (10th ed. 2014). Thus, Northwestern’s decision to not approve a new

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claim is the same as denying a new claim. Because Dr. Brawley filed his lawsuit

within two years of Northwestern’s June 2016 denial of his second claim, the

statute of limitations does not bar the bad faith claim based on that denial.

IV. CONCLUSION

      The court GRANTS IN PART and DENIES IN PART Northwestern’s

motion for summary judgment. The court GRANTS Northwestern’s motion for

summary judgment on Counts II through IV of the complaint, GRANTS IN

PART Northwestern’s motion for summary judgment on Count V of the

complaint to the extent the count asserts a claim arising from Northwestern’s

February 2015 denial of benefits, and DENIES IN PART Northwestern’s motion

for summary judgment on Count V of the complaint to the extent the count asserts

a claim arising from Northwestern’s June 2016 denial of benefits.

     DONE and ORDERED this December 21, 2018.



                                    _________________________________
                                    ANNEMARIE CARNEY AXON
                                    UNITED STATES DISTRICT JUDGE




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